                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                PHILADELPHIA DIVISION


IN RE:
Michael D’Alonzo,                         Bankruptcy No. 24-12212 pmm
                     Debtor.




                                CERTIFICATE OF SERVICE
    I, Michael A. Cataldo, Esquire hereby certiﬁes that a true and correct copy of the
Debtor’s Third Amended Plan was served electronically upon the following parties on the
date set forth below and was served upon all interested parties by electronic means on the
date set forth below.


Kwest@ph13trustee.com
Kenneth E. West, Trustee
bk@rgalegal.com
EMMANUEL J. ARGENTIERI on behalf of Creditor Citigroup Mortgage Loan Trust 2021-RP6




                                                 RESPECTFULLY SUBMITTED,

Dated:   February 27, 2025                      /s/ Michael A. Cataldo, Esquire
                                                Michael A. Cataldo, Esquire
                                                Gellert, Seitz, Busenkell & Brown, LLC
                                                901 Market Street
                                                Suite 3020, 3rd Floor
                                                Philadelphia, PA 19107
                                                mcataldo@gsbblaw.com
